          Case 1:15-cr-00195-ABJ Document 1 Filed 12/17/15 Page 1 of 4




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                Holding a Criminal Term
                             Grand Jury Sworn on May 5, 2015

 UNITED STATES OF AMERICA                              )    CRIMINAL NO.
                                                       )
                                                       )    UNDER SEAL
               V.                                      )
                                                            21 U.S.C. §§ 959(a), 960, 963
                                                            (Conspiracy to Distribute Five
 OSCAR MANUEL GASTELUM IRIBE,                               Kilograms or More of Cocaine,
    also known as "Salgado,"                                and Five Hundred Grams or
    and "Musico,"                                           More of Methamphetamine for
                                                            Importation into the United
                      Defendant.                       )    States)
                                                       )
                                                            18 U.S.C. §§ 924(c)(1)(A)(i),
                                                            924(c)(1)(A)(ii), 924(c)(1)(B)(ii)
                                                            (Use of a Firearm)

                                                            18 U.S.C. § 2
                                                            (Aiding and Abetting)

                                                            21 U.S.C. § 853
                                                            21 U.S.C. § 970
                                                            (Criminal Forfeiture)


                                       INDICTMENT

THE GRAND JURY CHARGES THAT:

                                        COUNT ONE

       From in or about January 2009, and continuing thereafter, up to and including the date of

the filing of this Indictment, both dates being approximate and inclusive, in the countries of

Mexico, the United States, and elsewhere, the defendant, OSCAR MANUEL GASTELUM

IRIBE, also known as "Salgado," and "Musico," together with others, both known and unknown

to the Grand Jury, did knowingly, intentionally and willfully conspire: (I) to knowingly and
             Case 1:15-cr-00195-ABJ Document 1 Filed 12/17/15 Page 2 of 4




intentionally distribute five (5) kilograms or more of a mixture or substance containing a detectable

amount of cocaine, a Schedule II controlled substance; and (2) to knowingly and intentionally

distribute five hundred (500) grams or more of a mixture or substance containing a detectible

amount of or more of methamphetamine, a Schedule II controlled substance, knowing and

intending that such substances would be unlawfully imported into the United States from a place

outside thereof, in violation of Title 21, United States Code, Sections 959(a); all in violation of

Title 21, United States Code, Section 963 and Title 18, United States Code, Section 2.

       With respect to the defendant, the controlled substances involved in the conspiracy

attributable to him as a result of his own conduct, and the conduct of other conspirators reasonably

foreseeable to him, is five (5) kilograms or more of a mixture and substance containing a detectable

amount of cocaine and five hundred (500) grams or more of a mixture and substance containing a

detectable amount of methamphetamine in violation of Title 21, United States Code, Section

960(b)(1).

       (Conspiracy to distribute 5 kilograms or more of cocaine, and 500 grams or more
       of methamphetamine, for importation into the United States in violation of Title 21,
       United States Code, Sections 959(a), 960 and 963, and Title 18, United States Code,
       Section 2.)

                                           COUNT TWO

       From in or about January 2009, and continuing thereafter, up to and including the date of

the filing of this Indictment, both dates being approximate and inclusive, the defendant OSCAR

MANUEL GASTELUM IRIBE, also known as "Salgado," and "Musico," did knowingly and

intentionally use, carry and brandish a firearm, during and in relation to one or more drug

trafficking crimes, to wit: the crimes charged in Count One, and did knowingly and intentionally

possess a firearm in furtherance of such drug trafficking crimes, in violation of in violation of Title

18, United States Code, Sections 924(c)(1)(A)(i), 924(c)(1)(A)(ii), 924(c)(1)(B)(ii).


                                                  2
           Case 1:15-cr-00195-ABJ Document 1 Filed 12/17/15 Page 3 of 4




       (Use of a Firearm, in violation of Title 18, United States Code, Sections
       924(c)(1)(A)(i), 924(c)(1)(A)(ii), 924(c)(1)(B)(ii).)

                          CRIMINAL FORFEITURE ALLEGATION

       The United States hereby gives notice to the defendant that upon conviction of the Title 21

offense alleged in Count One of this Indictment, the government will seek forfeiture in accordance

with Title 21, United States Code, Sections 853 and 970, of all property constituting or derived

from any proceeds the defendant obtained directly or indirectly as a result of the alleged Title 21

violation, and all property used or intended to be used in any manner or part to commit and to

facilitate the commission of such offense.

       Said property includes, but is not limited to:

A sum of money equal to all proceeds the defendant obtained directly or indirectly as a result of

the Title 21 offense charged in this indictment, and all property used or intended to be used to

facilitate such offense, that is, not less than a sum of money representing the amount of funds

involved in the offense, and all interest and proceeds traceable thereto; in that such sum, in

aggregate, was received by the defendant in exchange for the distribution of controlled substances

or is traceable thereto. If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:

               (a)     cannot be located upon the exercise of due diligence;

               (b)     has been transferred or sold to, or deposited with, a third person;

               (c)     has been placed beyond the jurisdiction of the Court;

               (d)     has been substantially diminished in value; or

               (e)     has been commingled with other property which cannot be subdivided

                       without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p) to


                                                  3
            Case 1:15-cr-00195-ABJ Document 1 Filed 12/17/15 Page 4 of 4




seek forfeiture of any other property of the said defendant up to the value of the above forfeitable

property.

       (Criminal Forfeiture, in violation of Title 21, Untied States Code, Sections 853 and
       970.)


                                                     A True Bill.




                                                     Foreperson



   h a. Wylt
Chief
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By:


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